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             EXHIBIT 24
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                EXHIBIT 21
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        HIGHLY CONFIDENTIAL PURSUANT TO THE PROTECTIVE ORDER


MOD_001479784; MOD_001479798; MOD_001479809; MOD_001479824; MOD_001479825;

MOD_001479826; MOD_001479827; MOD_001479874; MOD_001479931; MOD_001479968;

MOD_001479989; MOD_001480011; MOD_001480012; MOD_001480013; MOD_001480014;

MOD_001480015; MOD_001480029; MOD_001480033; MOD_001480052; MOD_001480070;

MOD_001480085; MOD_001480086; MOD_001480087; MOD_001480088; MOD_001480103;

MOD_001480113; MOD_001480162; MOD_001480163; MOD_001480164; MOD_001480165;

MOD_001480198; MOD_001480247; MOD_001480278; MOD_001480302; MOD_001480339;

MOD_001480340; MOD_001480342; MOD_001480382; MOD_001480425; MOD_001480426;

MOD_001480443; MOD_001480447; MOD_001480451; MOD_001480452; MOD_001480469;

MOD_001480481; MOD_001480514; MOD_001480563.

        Moderna reserves the right to supplement its response to this interrogatory as discovery

continues.

INTERROGATORY NO. 3:

       For each of the Patents-in-Suit, describe in detail, together with the identity of any
supporting documents or things, the factual basis for Moderna’s allegation that if Pfizer and
BioNTech have infringed the Patents-in-Suit, such infringement was willful.

RESPONSE TO INTERROGATORY NO. 3

        In addition to the General Objections set forth above and incorporated here, Moderna

objects to this interrogatory to the extent it calls for premature disclosure of expert opinion.

        Moderna further objects to this interrogatory to the extent that it seeks information that is

not within Moderna’s possession, custody, or control.

        Moderna further object to this interrogatory to the extent it seeks information that is subject

to an obligation of confidentiality to a third party.

        Subject to the foregoing General and Specific Objections, Moderna responds as follows:




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       Willfulness requires a jury to “find no more than deliberate or intentional infringement.”

SRI Int'l, Inc. v. Cisco Sys., Inc., 14 F.4th 1323, 1329-30 (Fed. Cir. 2021); see also Eko Brands,

LLC v. Adrian Rivera Maynez Enters., Inc., 946 F.3d 1367, 1378 (Fed. Cir. 2020). In assessing

willfulness, courts look to the totality of the circumstances to determine whether there was

“specific intent to infringe at the time of the challenged conduct.” Teva Pharms. Int’l GmbH v.

Eli Lilly & Co., No. 18-cv-12029-ADB, 2022 WL 4824318, at 16 (D. Mass. Oct. 3, 2022) (denying

summary judgment of no willfulness where the accused infringer admitted knowledge of the

Patents-in-Suit at the time of infringement, and still began an “expensive marketing campaign to

promote and sell its allegedly infringing product”) (internal citations omitted). Knowledge of the

patent at issue and evidence of infringement is relevant to willfulness. Teva Pharms., 2022 WL

4824318 at 15. Further, when induced infringement is at issue—as it is here—a jury finding of

inducement may suffice to show willfulness. SRI Int’l, 14 F.4th 1323 at 1329 (finding jury’s

unchallenged induced infringement findings, combined with Defendant’s lack of reasonable bases

for infringement and invalidity defenses, to be sufficient support jury finding of willful

infringement).

       Some factors often considered in assessing willfulness include:

       (1) Whether or not [alleged infringer] acted consistently with the standards of behavior for
       its industry;

       (2) Whether or not [alleged infringer] intentionally copied a product of [patent holder] that
       is covered by the [ ] patent;

       (3) Whether or not [alleged infringer] reasonably believed it did not infringe or that the
       patent was invalid;

       (4) Whether or not [alleged infringer] made a good-faith effort to avoid infringing the [ ]
       patent, for example, whether [alleged infringer] attempted to design around the [ ] patent;
       and

       (5) Whether or not [alleged infringer] tried to cover up its infringement.



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Dated: November 17, 2023             Respectfully submitted:



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                               CERTIFICATE OF SERVICE

        I hereby certify that on November 17, 2023, I caused true and correct copies of the
foregoing Moderna’s Responses and Objections to Pfizer’s First Set of Interrogatories (Nos. 1-4)
to be served on the following counsel by email:


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                                                 /s/ Annaleigh E. Curtis
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